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                                                                          United States District Court
                                                                            Southern District of Texas
                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS                              ENTERED
                           HOUSTON DIVISION                                    May 13, 2022
                                                                            Nathan Ochsner, Clerk

UNITED STATES OF AMERICA                  §
                                          §
versus                                    §       Criminal No. 4:17−cr−00651
                                          §
Maria Angelica Moreno−Reyna               §


                        ORDER APPOINTING COUNSEL


       Because the Defendant, Maria Angelica Moreno−Reyna, has satisfied this court
that (s)he is financially unable to employ counsel and does not wish to waive counsel,
and because the interests of justice so require, an attorney is hereby APPOINTED to
represent this person in the above designated case.

                       Attorney appointed: Molly Bagshaw

       The appointment SHALL remain in effect until terminated or a substitute
attorney is appointed or makes an appearance herein on behalf of the Defendant.


      Signed on May 13, 2022.
